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AO 458 (Rev. 01!09) Appearance ofCounsel

 

UN|TED STATES OF AMER|CA

 

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V.
ANDREW RYAN MlL[_ER

 

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To: The clerk of` court and all parties of record

for the
Westem District of`New York

 

b
Case N()_ 15-MC-$UO4-EAW

APPEARANCE OF COUNSEL

I am authorized 10 practice in this court, and I appear in this case as counsel for:

UN|TED STATES OF AN|ERICA

 

Date: 01)'02/2018

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SEAN C. ELDR|DGE

 

Prfnred name and bar number

U.S. ATTORNEY'S OFFlCE
100 STATE STREET, ROOM 500
ROCHESTER, NY 14614

 

Addr'e.s‘s

SEAN.ELDR|DGE@USDOJ.GOV

 

E-mar'l address

(585) 399-3953

 

Telephw:e number

(585) 399~3920

 

FAX number

